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                    SO ORDERED: June 29, 2018.




                            ______________________________
                            James M. Carr
                            United States Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


IN RE:                                    )
                                          )
DAWNYL TERASA FREW,                       ) Case No. 17-08218-JMC-7A
                                          )
                        Debtor.           )
__________________________________________)


                  ORDER GRANTING MOTION TO SELL REAL ESTATE
                          PURSUANT TO PRIVATE SALE

         THIS MATTER comes before the Court on Trustee’s Motion for Authority to Sell Real

Estate Pursuant to Private Sale filed by Gregory K. Silver, chapter 7 trustee (“Trustee”), on

June 7, 2018 (Docket No. 38) (the “Motion”). The Court, having reviewed the Motion, noting

that no objection to the Motion was timely filed, and being otherwise duly advised, now

GRANTS the Motion.

         Trustee is authorized to sell the real property located at 9008 Lighthorse Drive,

Indianapolis, Indiana 46231 to Samuel Akinbamijo Adegboyega pursuant to the terms of the

Purchase Agreement (as amended) attached to the Motion as Exhibit A and the letter agreement
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attached to the Motion as Exhibit B, free and clear of liens, claims and interests, with any such

valid liens, claims or interests to attach to the proceeds of the sale.

         Trustee is authorized to execute any and all documents necessary, including a Trustee

Deed, to consummate the sale approved by this order.

         The 14-day stay imposed by Fed. R. Bankr. P. 6004(h) shall not be applicable to this

order.

         IT IS SO ORDERED.

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